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EDGAR ]OHNSON,
Plaintiff,
v.

No. 2203-cv-2567- BBD~tmp

HOME TECH SERV|CES CO., |NC., et a/.,

Defendants,

 

ORDER GRANT|NG EXTENS|ON OF T|ME TO DEFENDANT WACHOVlA BANK OF
DELAWARE, N.A. TO RESPOND TO MOT|ON TO COMPEL D|SCOVERV

 

This matter came before the Court upon the Unopposed Motion of Defendant
Wachovia Banl< of De|aware, NA. to extend the time Within Which it may respond to Plaintiff’s
Objections to the Magistrate ludge's Order Granting in Part and Denying in Part P|aintiffs'
Motions to Compe|. (Docket Entry No. 235) lt appears to the Court that good Cause has been
shown and that the motion of Defendant Wachovia Bank of De|aware, NA. is well-taken and
should be granted

|T |S, THEREFORE, ORDERED, AD]UDGED, AND DECREED that Defendant Wachovia
Bank of De|aware, N.A. may have an extension of time up to and including May 16, 2005
within Which to respond to P|aintiff's Objections to the Magistrate ludge’s Order Granting in

Part and Denying in Part P|aintiffs' Motions to Compel. (Docket Entry N). 235)

    

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This notice confirms a copy of the document docketed as number 251 in
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Honorable Bernice Donald
US DISTRICT COURT

